                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION

United States of America,                      )
                                  Plaintiff,   )
vs.                                            ) No. 98-0149-01-CR-W-FJG
Cornelius Peoples,                             ) No. 00-0395-03-CR-W-FJG
                                  Defendant.   )


                                        ORDER
       Pending before this Court is the government’s rule 35 motion to reduce sentence
(Doc. #985), filed November 29, 2005. The parties have submitted a stipulation and
recommendation requesting that the Court reduce defendant’s sentence by a term of
five (5) years (Doc. #988), filed December 27, 2005. Being duly advised in the
premises and for good cause shown, the parties’ stipulation is adopted and approved by
the Court. Defendant is hereby re-sentenced to a term of fifteen (15) years. All other
conditions and requirements imposed by defendant’s original sentence in this cause
shall remain in effect.


                                               /s/Fernando J. Gaitan, Jr.
                                               United States District Judge
Dated: December 29, 2005
Kansas City, Missouri




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